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        * K e y to abbreviations:
        HOUSE=Texas House of Representatives; HTO=Handbook of Texas Online; POTL=Presiding Officers of the Texas Legislature 1846-
        1991; TSC=Texas State Cemetery

        1. In a [etter dated 3/27/1972. Gus Mutscher resigned as Speaker of the Texas House of Representatives, effective upon the election of his successor by
        the Second Called Session of the 62nd Legislature. Pursuant to Rule F, Section 10 of the Rules of the Texas House of Representatives of the 62nd
        Legislature, Gus Mutscher appointed James Slider to call the House to order on the first day of the Second Called Session and to preside over the House
        pending the election of the Speaker.

        Sources:
        Members of the Texas Congress 1836-1845, Members of the Texas Legislature 1846-1992. [Austin, Tex.]: Senate Engrossing and Enrolling, Senate
        Reproduction, [1992].
        Presiding Officers of the Texas Legislature 1846-1991. [Austin, Tex.]: Texas Legislative Council, 1991.
        The Handbook of Texas Online [Austin, Tex.]: Texas State Historical Association and The General Libraries at the University of Texas at Austin,
        [1999].
